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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                      Plaintiff,

 v.                                                                   Case No. 10-20014
                                                                      Honorable Denise Page Hood
 VISHNU PRADEEP MEDA (D-9),

                      Defendant.

                                                   /

      ORDER GRANTING IN PART MOTION TO SEPARATE TRIAL FROM CO-
                     DEFENDANT NABILA MAHBUB

        This matter is before the Court on Vishnu Pradeep Meda’s Motion to Sever and Separate

 Trial from Co-Defendant Nabila Mahbub,

        For the reasons stated on the record on September 19, 2012,

        IT IS ORDERED that Defendant’s Motion to Sever and Separate Trial [Docket No.

 463, filed May 2, 2012] is GRANTED IN PART. Defendant Nabila Mahbub will be tried

 separately from her Co-Defendants. The remaining four Defendants will be tried together on

 October 1, 2012.

        IT IS SO ORDERED.

        Dated: September 25, 2012                      s/Denise Page Hood
                                                       DENISE PAGE HOOD
                                                       UNITED STATES DISTRICT JUDGE


        I hereby certify that a copy of the foregoing document was mailed to the attorneys of
        record on this date, Tuesday, September 25, 2012, by electronic and/or ordinary mail.

                                                       s/LaShawn Saulsberry
                                                       Case Manager
